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                EXHIBIT 9
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              What was announced today?
              Today, Uber announced it is acquiring a 6 -month startup, Otto, founded by a former Chauffeur
              team member. In addition, Volvo and Uber will spend $300m to create 100 vehicles for Uber to
              begin a pilot of self -driving cars TaaS (with two test drivers aboard) in Pittsburgh.

                     Bloomberg story that broke the news
                     Uber blogpost
                     Otto blogpost
                     Volvo press release
                     If you're after a more sober look, here's a Mashable piece.

              What does this mean for Chauffeur?
              With FC16, we have a plan to be the first in the world to put a fully autonomous ride -sharing
              service on the road. We're confident that we have the technology and the team to do this. But
              as with any business, we should always take into account what competitors are doing (and
              we're going to do just that), but we remain confident that the right path is to bring this technology
              via TaaS, and to start first with FC16.

              Won't Otto use what they've learnt at Google to benefit Uber? Does this mean people are
              catching up?
              It's true that there will be some ex- Chauffeur team members joining Uber. Anthony Levandowski
              was a founding member of the team and he'll have insights on how we do things that he'll bring
              to Uber. However, developing a self- driving car is also a lot of work in testing, in building the
              software and infrastructure, and more importantly in having a strong team that can bring this
              technology to market. We don't believe Uber got good value for their acquisition of the Otto
              team.

              Why aren't we using a mixed fleet (with trained drivers) for FC16 if this is what Uber is
              doing?
              We could have done a mixed fleet years ago. However, our ultimate goal is to put a truly self -
              driving car on public roads and we're confident we can get there soon. Introducing a mixed fleet
              can be a distraction to our business, and also training wheels that become harder to take off
              from a public and regulatory perspective (for example, regulators may force us to keep test
              drivers in vehicles indefinitely until we've driven x billions of miles). We can see some benefit in
              a mixed fleet, so we'd be open to a plan that mitigates the above risks, such as a mixed fleet
              that includes true self -driving cars from the start.

              Did we try to talk to Uber or Lyft?
              Yes. And they've both indicated their willingness for us to partner with them with our vehicles. In
              fact Uber called us after today's announcement and they reiterated their desire to partner with
              us (which is perhaps a sign of the lack of confidence in their progress). We think today's
              announcement makes it less likely we would want to partner with them.

              Did we try to talk to Volvo?


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                                                               MARY J. GOFF, CSR 13427
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              Yes. We have met with over a dozen OEMs this year, including Volvo. We were surprised they
              wanted to partner with Uber given the importance they place on safety, and developing this
              technology safely. However, the deal with Uber is non -exclusive for both parties and Volvo
              made it clear they will continue to develop their own autonomous technology independent of
              Uber. The XC90 is a good platform for autonomous cars but it does not have redundant
              steering, which is fine for Uber as they will have a driver on- board, but not a perfect fit for us as
              we want to go truly driverless (Volvo have indicated they don't intend to have a fully self- driving
              car until 2021).

              What are L &S saying about this?
              We don't think today's news ultimately affect our strategy and direction (and Sergey was
              supportive of our project as the X All -hands today). The founders have been really supportive of
              our direction and we'll get a chance to hear from them at one of our next all- hands.

                                                            teen sheet with Alphabet?
              *Bonus FAQ *: What's the latest update on our term
              Getting our NewCo Term Sheet finalized is a high priority. There are 25 categories of terms in
              our term sheet; to date we have 14 agreed to, with 11 remaining to be finalized. Part of the
              delay is that the CorpDev folks have not been able to sync with Alphabet execs to get
              agreement on their side. We had initially hoped we'd get this part done tomorrow but it's looking
              like this will slip. We'll continue to keep everyone updated on our progress. (This should not
              affect our timeline to get New.Co established by year's end).




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